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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOHN WILLIAMS,             )
                           )
     Plaintiff,            )
                           )                     CIVIL ACTION NO.
     v.                    )                       2:20cv471-MHT
                           )                            (WO)
CHARTER COMMUNICATIONS,    )
INC. and ENHANCED RECOVERY )
COMPANY, LLC,              )
                           )
     Defendants.           )


                            OPINION AND ORDER

       The   question      presented      is    whether    this       federal

court      has    removal      jurisdiction      based     on    ‘complete

preemption’ under the Fair Credit Reporting Act (FCRA),

15 U.S.C. § 1681 et seq.              For the reasons that follow,

the     court     concludes      that     it    does    not     and     that,

therefore, the plaintiff's motion to remand should be

granted.

       Plaintiff      John     Williams        initially      filed      this

lawsuit      in    state     court.        He    brought      claims       for

defamation and libel, asserting that defendants Charter

Communications,         Inc.    and     Enhanced    Recovery      Company,
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LLC, had falsely notified consumer reporting agencies

that he had a delinquent account and had harmed his

credit.

       Enhanced       Recovery,     with    the    consent       of   Charter

Communications, filed a notice of removal to federal

court based on federal-question jurisdiction.                         Williams

responded with a motion to remand.

       While Enhanced Recovery acknowledges that Williams

did not bring any federal claims on the face of his

complaint,       it     contends    that    this    court    has       removal

jurisdiction          based   on    federal-question         jurisdiction

under 28 U.S.C. § 1331 because Williams’s state claims

are 'completely preempted' by FCRA.                   In light of the

fact     that    Enhanced     Recovery      relied    on     a    theory    of

complete preemption to remove this case, the question

now    before     the    court     is   whether    FCRA    supports       this

theory.       As stated, the court concludes that it does

not.

       In general, any civil action brought in state court

may be removed by a defendant to federal court if it

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could have been brought in federal court in the first

instance.       See 28 U.S.C. § 1441(a).               The party seeking

removal has the burden of establishing jurisdiction.

See Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th

Cir.     2001).        And,    “[b]ecause           removal    jurisdiction

raises significant federalism concerns, federal courts

[should]       construe     removal     statutes       strictly.      Indeed,

all    doubts     about    jurisdiction        should    be    resolved     in

favor of remand to state court.”                     Univ. of S. Ala. v.

Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir. 1999)

(citation omitted).

       Federal-question jurisdiction exists when the civil

action arises under the Constitution, laws, treaties of

the United States.             See 28 U.S.C. § 1331.                  Whether

federal-question          jurisdiction         applies        is    generally

governed by the “well-pleaded complaint” rule, which

provides that a case arises under federal law “only

when     the   plaintiff’s      statement       of    his     own   cause   of

action      shows    that     it   is       based    upon     those    laws.”




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Louisville & Nashville R.R. v. Mottley, 211 U.S. 149,

152 (1908).

       However,     there    is   an    “independent         corollary”     to

this rule known as the “complete preemption” doctrine.

Caterpillar Inc. v. Williams, 482 U.S. 386, 393 (1987).

Under     this    doctrine,       a    complaint      that    includes      no

federal-law claims on its face may nevertheless provide

federal-question jurisdiction if it “raise[s] a select

type of claim that has been singled out by Congress for

federal preemption.”           Pruitt v. Carpenters' Local Union

No. 225, 893 F.2d 1216, 1218 (11th Cir. 1990) (citation

omitted).        This doctrine requires that the preemptive

force of the statute be “so ‘extraordinary’ that it

converts an ordinary state common-law complaint into

one     stating     a   federal       claim   for     purposes        of   the

well-pleaded       complaint      rule.”       Blab    T.V.     of    Mobile,

Inc. v. Comcast Cable Comm’ns, Inc., 182 F.3d 851, 854

(11th Cir. 1999) (citation omitted).

       The    Eleventh       Circuit       Court      of      Appeals      has

interpreted        complete       preemption        narrowly         and   has

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cautioned       that     it    should       not   be     confused      with    the

“broader        and     more    familiar          doctrine       of     ordinary

preemption.”             Id.    at      854.           Ordinary       preemption

“operates to dismiss state claims on the merits and may

be invoked in either federal or state court,” while

complete      preemption        “functions         as    a   narrowly        drawn

means of assessing federal removal jurisdiction.”                              Id.

at 854-55.        A federal statute may preempt state causes

of     action     in     ordinary        terms         without     necessarily

conferring            federal-question            jurisdiction           through

complete preemption.             See Smith v. GTE Corp., 236 F.3d

1292, 1313 (11th Cir. 2001) (“[O]ur conclusion that the

complete preemption doctrine does not provide a basis

for     federal       jurisdiction       in       this    action      does    not

preclude        the     parties      from         litigating        about      the

preemptive effect, if any, of the FCC's orders or the

Communications Act [47 U.S.C. § 151, et seq.] in any

subsequent state court action.”).

       Whether there is ordinary preemption in this case

is a close question.             See Hamilton v. Midland Funding,

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LLC., 2015 WL 5084234, at *6 (N.D. Ala. Aug. 27, 2015)

(Kallon, J.) (“FCRA preemption of state law torts is an

area     of     little    agreement             among        this    district’s

judges.”).       However, it is not a question this court

need reach, because it is clear that FCRA does not

exert    the    ‘extraordinary’            level      of    preemptive    force

necessary for this court to have removal jurisdiction.

       The Eleventh Circuit has observed that the complete

preemption doctrine is limited in its application and

has cautioned that courts should hesitate to extend it

to new areas of law.             See Blab T.V., 182 F.3d at 856

(“These cases reveal that, although the Supreme Court

recognizes      the   existence        of       the   complete       preemption

doctrine, the Court does so hesitatingly and displays

no enthusiasm to extend the doctrine into areas of law

beyond    the    LMRA    [Labor    Management               Relations    Act    of

1948, 29 U.S.C. § 185] and ERISA [Employee Retirement

Income    Security       Act,     29       U.S.C.       §     1132].”).         In

determining      whether    complete            preemption          exists,    the

most    important       factor    for       a    court       to     consider    is

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Congress’s intent.              Id. at 857.          Courts must determine

whether     Congress,          in    fashioning         the      law,     meant     to

“grant      a     defendant           the       ability         to     remove      the

adjudication of the cause of action to a federal court

by   transforming            the    state       cause      of    action      into    a

federal one.”           Id. (brackets, internal quotation marks,

and citation omitted).

      Here,      the    defendants          have     not        shown,    and     this

court’s     review       has       not    found,      any       indication        that

Congress intended FCRA to completely preempt state law

so   as    to    grant       removal      jurisdiction.               Nearly    every

district        court    that       has   addressed        this        question    has

come to the same conclusion.                        See, e.g., Watkins v.

Trans Union, LLC, 118 F. Supp. 2d 1217 (N.D. Ala. 2000)

(Acker, J.); Swecker v. Trans Union Corp., 31 F. Supp.

2d   536    (E.D.       Va.     1998)       (Brinkema,          J.);     Sherron    v.

Private     Issue       by    Discover,         a   Div.    of       Novus   Servs.,

Inc., 977 F. Supp. 804 (N.D. Miss. 1997) (Davison, J.);




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Harper v. TRW, Inc., 881 F. Supp. 294 (E.D. Mich. 1995)

(Rosen, J.).1

       Indeed, the jurisdictional language of the statute

indicates that Congress did not craft FCRA to preempt

completely        all       state     claims.          While     completely

preemptive       statutes       such      as    LMRA    or     ERISA     grant

exclusive       federal       jurisdiction,        the       jurisdictional

grant under FCRA allows for concurrent jurisdiction.

See    15    U.S.C.     §    1681p    (“An     action    to     enforce    any

liability created under this subchapter may be brought

in an appropriate United States district court without

regard to the amount in controversy, or in any other

court     of   competent      jurisdiction.”)          (emphasis       added).

The     Eleventh      Circuit       has   explained      that    provisions

which demonstrate a “broad policy of preserving state

authority except in areas in which the exercise of this



    1. In the two cases in which district courts found
complete preemption under FCRA, Crump v. Bank of Am.,
2016 WL 4926425 (D.N.J. Sept. 14, 2016) (Hillman, J.);
Williams v. Metropolitan Life Ins. Co., 1994 WL 529880
(S.D.N.Y. Sept. 28, 1994) (Haight, J.), the discussion
of jurisdiction seemed to conflate ordinary and
complete preemption.
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authority would be inconsistent with federal law,” such

as concurrent jurisdiction provisions, counsel against

a     finding     of    complete      preemption     because      “[t]hese

provisions contemplate the application of state-law and

the     exercise       of   state-court       jurisdiction       to     some

degree.”         Blab T.V., 182 F.3d at 857-58.              The grant of

concurrent jurisdiction in FCRA suggests that Congress

did not intend it to have the same “unique preemptive

force” as the LMRA and ERISA, undermining the idea that

FCRA should be read as completely preemptive.                       Id. at

858; see also Harper, 881 F. Supp. at 299 (holding that

FCRA’s grant of concurrent jurisdiction “weighs heavily

against preemption”).

       The two FCRA preemption sections are also narrowly

drawn.       Section 1681h(e) creates an exception to its

preemptive effect for state law claims where malice or

willful intent to injure the consumer is involved.                         See

15    U.S.C.      §   1681h(e)   (“[N]o      consumer    may    bring      any

action      or    proceeding     in    the    nature    of     defamation,

invasion of privacy, or negligence with respect to the

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reporting        of     information      ...     except     as    to     false

information furnished with malice or willful intent to

injure       such     consumer.”)      (emphasis       added).         Section

1681t(b)(1)(F)           is    more     expansive,        preempting        any

“requirement or prohibition ... imposed under the laws

of     any     State    with    respect     to    any     subject       matter

regulated under section 1681s-2.”                      However, it still

sets forth only a discrete preemption that “in no way

resembles Congress’ grant of complete preemption” under

completely preemptive statutes.                 King v. Retailers Nat.

Bank, 388 F. Supp. 2d 913, 916 (N.D. Ill. 2005) (St.

Eve, J.); see also Watkins, 118 F. Supp. 2d at 1222.

       Nor     is     there    any    evidence    in    the      legislative

history that Congress intended to make preempted state

law claims removable to federal court.                        See Watkins,

118 F. Supp. 2d at 1222; see also Sherron, 977 F. Supp.

at 808 (“There is nothing in the legislative history or

the     FCRA    itself    to    establish      that    Congress     intended

that state law causes of action ... be removable.”).

The absence of any mention of what would have been a

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significant jurisdictional decision is further strong

evidence       that     Congress         never     meant     FCRA        to    be

completely preemptive.             See Blab T.V., 182 F.3d at 857

(“We    view     the    absence     of    such     a    statement     in      the

legislative history to be a persuasive argument against

finding complete preemption.”).

       Because    it    is     clear     that      no    federal     question

appears     on    the    face      of    Williams’s        complaint,         and

because    FCRA       does   not   completely           preempt    the    state

claims for the purposes of removal, this court lacks

jurisdiction       to   hear    this      case.2        Enhanced     Recovery

Company’s        removal     of     this     action         was     therefore




    2. In his motion to remand, Williams raises two
separate issues. First, despite the fact that Enhanced
Recovery    removed     based    on     federal-question
jurisdiction, Williams notes that the court lacks
diversity-of-citizenship jurisdiction under 28 U.S.C.
§ 1332 because his state complaint requested only
$ 20,000 in damages.     Because the defendants do not
assert diversity jurisdiction, the court need not
address this issue. Second, he points out that neither
Enhanced Recovery nor Charter Communications is itself
a credit reporting agency, nor are his claims based on
required disclosures to such agencies. As a result, he
argues, FCRA is inapplicable.         Whether FRCA is
applicable and whether there is ordinary preemption are
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improper,      and   Williams's    motion     to    remand    should     be

granted.

                                  * * *

    Accordingly, it is the ORDER, JUDGMENT, and DECREE

of the court that plaintiff John Williams’s motion to

remand (doc. no. 4) is granted and that, pursuant to 28

U.S.C. § 1447(c), this cause is remanded to the Circuit

Court     of    Elmore     County,        Alabama,     for    want       of

subject-matter jurisdiction.

    The     clerk     of   the    court     is     DIRECTED    to    take

appropriate steps to effect the remand.

    This case is closed in this court.

    DONE, this the 10th day of November, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE




issues left for resolution by the state court after
remand.
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